                 Case:4:21-cv-00344-JSW
                 Case  22-15529, 04/12/2022, ID: 12419027,
                                          Document         DktEntry:
                                                     149 Filed       1-1, Page
                                                               04/12/22   Page11of
                                                                                 of44

                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                             April 12, 2022


       No.:         22-15529
       D.C. No.: 4:21-cv-00344-JSW
       Short Title: DOW, et al v. USFWS, et al


       Dear Appellants/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Motions filed along with the notice of appeal in the district court are not
       automatically transferred to this court for filing. Any motions seeking relief from
       this court must be separately filed in this court's docket.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.
      Case:4:21-cv-00344-JSW
      Case  22-15529, 04/12/2022, ID: 12419027,
                               Document         DktEntry:
                                          149 Filed       1-1, Page
                                                    04/12/22   Page22of
                                                                      of44




                 UNITED STATES COURT OF APPEALS
                                                                 FILED
                        FOR THE NINTH CIRCUIT
                                                                 APR 12 2022
                                                                MOLLY C. DWYER, CLERK
                                                                 U.S. COURT OF APPEALS




DEFENDERS OF WILDLIFE;                      No. 22-15529
CENTER FOR BIOLOGICAL
DIVERSITY; SIERRA CLUB;
                                            D.C. No. 4:21-cv-00344-JSW
NATIONAL PARKS
CONSERVATION ASSOCIATION;                   U.S. District Court for Northern
OREGON WILD; HUMANE                         California, Oakland
SOCIETY OF THE UNITED STATES,
                                            TIME SCHEDULE ORDER
            Plaintiffs - Appellees,

 v.

 UNITED STATES FISH AND
WILDLIFE SERVICE; DEBRA ANNE
HAALAND, U.S. Secretary of the
Interior,

            Defendants,

STATE OF UTAH,

            Intervenor-Defendant,

and

NATIONAL RIFLE ASSOCIATION
OF AMERICA; SAFARI CLUB
INTERNATIONAL,

Intervenor-Defendants - Appellants,

 v.
       Case:4:21-cv-00344-JSW
       Case  22-15529, 04/12/2022, ID: 12419027,
                                Document         DktEntry:
                                           149 Filed       1-1, Page
                                                     04/12/22   Page33of
                                                                       of44




 AMERICAN FARM BUREAU
 FEDERATION; AMERICAN SHEEP
 INDUSTRY ASSOCIATION;
 NATIONAL CATTLEMEN'S BEEF
 ASSOCIATION; PUBLIC LANDS
 COUNCIL, Proposed Intervenor-
 Defendants; AMERICAN FOREST
 RESOURCE COUNCIL;
 SPORTSMENS ALLIANCE
 FOUNDATION; ROCKY MOUNTAIN
 ELK FOUNDATION; WISCONSIN
 BEAR HUNTERS ASSOCIATION;
 MICHIGAN BEAR HUNTERS
 ASSOCIATION,

               Movants.



The parties shall meet the following time schedule.

If there were reported hearings, the parties shall designate and, if necessary, cross-
designate the transcripts pursuant to 9th Cir. R. 10-3.1. If there were no reported
hearings, the transcript deadlines do not apply.

Tue., April 19, 2022          Appellants' Mediation Questionnaire due. If your
                              registration for Appellate CM/ECF is confirmed after
                              this date, the Mediation Questionnaire is due within
                              one day of receiving the email from PACER
                              confirming your registration.
Wed., May 11, 2022            Transcript shall be ordered.
Fri., June 10, 2022           Transcript shall be filed by court reporter.
Wed., July 20, 2022           Appellants' opening brief and excerpts of record
                              shall be served and filed pursuant to FRAP 31 and
                              9th Cir. R. 31-2.1.
Mon., August 22, 2022         Appellees' answering brief and excerpts of record
                              shall be served and filed pursuant to FRAP 31 and
                              9th Cir. R. 31-2.1.
       Case:4:21-cv-00344-JSW
       Case  22-15529, 04/12/2022, ID: 12419027,
                                Document         DktEntry:
                                           149 Filed       1-1, Page
                                                     04/12/22   Page44of
                                                                       of44

The optional appellants' reply brief shall be filed and served within 21 days of
service of the appellees' brief, pursuant to FRAP 31 and 9th Cir. R. 31-2.1.

Failure of the appellants to comply with the Time Schedule Order will result
in automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                             FOR THE COURT:

                                             MOLLY C. DWYER
                                             CLERK OF COURT

                                             By: Ruben Talavera
                                             Deputy Clerk
                                             Ninth Circuit Rule 27-7
